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                       IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF GEORGIA

                                    AUGUSTA DIVISION

UNITED STATES OF AMERICA,                        )
               Plaintiff/Appellee                )
 VS.                                             )             USDC NO. 1:11CR133

FRED WILLIAM LAYMAN                              )             USCOA No. 11-15399-CC

               Defendant/Appellant               )



                                           ORDER

       The mandate from the United States Court of Appeals for the Eleventh Circuit having

been issued DISMISSING the appeal,

       IT IS HEREBY ORDERED that the mandate of the United States Court of Appeals for

the Eleventh Circuit is made the judgment of this Court. This Court's Judgment and

Conviction dated October 3, 2011 is final in all respects.

       SO ORDERED this 2day of                           A4-, 2012.

                                                     -   -^T

                                              J. RAI'DAL HALL' DISTRICT JUDGE
                                              UNIT$D STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF GEORGIA
